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       7.      Based upon my training and experience, I submit that there is probable cause to

believe that the TARGET SUBJECTS use the SUBJECT PREMISES in furtherance of criminal

activity, including, violations of 18 U.S.C. 1956(h) (Conspiracy to Commit Money Laundering)

and 21 U.S.C. 846 (Conspiracy to Distribute Controlled Substances) (collectively, the SUBJECT

OFFENSES). I further submit that there is probable cause to believe that the TARGET

SUBJECTS and the SUBJECT PREMISES contain fruits, evidence, and instrumentalities, as

more fully described in Attachment B, of said SUBJECT OFFENSES.

       8.      Based on the facts in this Affidavit, I respectfully submit that there is probable cause

to believe that the ARREST SUBJECTS have committed the following offenses: 18 U.S.C. §

1956(h) (Conspiracy to Commit Money Laundering) and 21 U.S.C. § 846 (Conspiracy to

Distribute Controlled Substances).

II.    AFFIANT’S BACKGROUND AND EXPERTISE

       9.      I am an “investigative or law enforcement officer of the United States” within the

meaning of Section 2510(7) of Title 18, United States Code, that is, an officer of the United States

who is empowered by law to conduct investigations of and to make arrests for offenses enumerated

in Section 2516 of United States Code Title 18.

       10.     I have been a DEA Special Agent (“SA”) since December 2020. I am currently

assigned to the Baltimore District Office, Strike Force 1 group, which investigates drug trafficking

organizations and their ties to violence. I received 14 weeks of training in narcotics investigations

and related legal matters at the DEA Training Academy in Quantico, Virginia.

       11.     Prior to my employment as an SA with the DEA, I was employed as a police

officer/detective by the Baltimore Police Department from January 14, 2014, until September 4,

2020. During my law enforcement career with the Baltimore Police Department, I spent



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approximately two years in the Northwest District drug unit conducting street-level drug

investigations, followed by three years as a Task Force Officer (“TFO”) with Strike Force 1 of the

DEA. During my time as a TFO in Strike Force 1, I conducted high-level narcotics investigations

to include wiretap investigations of violent street-level drug trafficking organizations (“DTOs”)

and kilogram quantity drug traffickers. As a result, I have been involved in the arrests of drug

traffickers.

        12.    During my time as a law enforcement officer, I have participated in multiple

investigations involving money laundering and drug trafficking to include the use of Title III (“T-

III”) wiretaps, confidential informants, undercover transactions, physical and electronic

surveillance, telephone toll analysis, the execution of search and seizure warrants, and the recovery

of substantial quantities of narcotics.

        13.    Through my training, education and experience, I have become familiar with the

manner in which illegal drugs are transported, stored, and distributed, the possession and use of

firearms in connection with trafficking of such drugs, and the methods by which narcotics

traffickers collect, store, conceal, and launder the proceeds of their illegal activities. I have also

become familiar with how drug traffickers use telephones, cellular telephone technology, pagers,

coded communications or slang-filled telephone conversations, false or fictitious identities, and

other means to facilitate their illegal activities and thwart law enforcement investigations.

        14.    Through training, interviewing of dozens of persons arrested for controlled

substance offenses, watching hundreds of hours of surveillance of suspected drug traffickers, and

monitoring of countless hours of intercepted communications involving drug trafficking, I am

familiar with the actions, traits, habits, and terminology utilized by drug traffickers.

        15.    Based upon that training and experience, I have learned the following:



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                a.      Drug traffickers keep and maintain records of their various activities. Such
records are regularly concealed in a suspect’s automobile, residence, office, and on his person, and
that they take various forms. Documents commonly concealed by drug traffickers, include but are
not limited to notes in code, deposit slips, wired money transactions, hidden bank accounts,
photographs of co-conspirators, various forms of commercial paper, personal address books,
notebooks, records, receipts, ledgers, travel receipts (rental receipts, airline tickets, bus tickets,
and/or train tickets) both commercial and private, money orders and other papers relating to the
ordering, transportation, sale and distribution of controlled dangerous substances or other such
documents which will contain identifying data on the co-conspirators. These items are kept in
locations that are considered safe by the drug traffickers such as safety deposit boxes, residences,
vehicles and on their person, where they have ready access to them. Drug traffickers often have
several residences decreasing the likelihood of detection by law enforcement;

              b.     Drug traffickers may use computers or other electronic storage media,
including smart phones, to store the records of documents listed in paragraph a;

               c.       Drug traffickers maintain on hand large amounts of cash to maintain and
finance their narcotics business, which is typically concealed in their residences or vehicles along
with financial instruments and evidence of financial transactions relating to narcotics trafficking
activities;

              d.      Drug traffickers engage in activities designed to conceal the nature, source,
location, ownership, or control of drug proceeds;

               e.     Drug traffickers use cellular telephones, pagers and other electronic
communications devices to facilitate illegal drug transactions. The electronically stored
information on these devices is of evidentiary value in identifying other members of the drug
trafficking conspiracy and establishing the relationship between these individuals, including
photographs and other identifying information stored on these devices;

               f.      Drug traffickers commonly possess firearms and other weapons to protect
and secure their narcotics and money from loss to law enforcement agents or other members of the
criminal element that are motivated by greed; and

                 g.     Drug traffickers commonly possess packaging material, cutting agents,
digital scales, and other items used in the preparation and packaging of controlled substances.

                h.      Drug traffickers commonly use vehicles to conceal and transport ledgers,
packaging materials, cutting agents, digital scales, illegal drugs, proceeds from illegal drug sales,
and other items associated with illegal drug trafficking. These vehicles are often purchased with
illegal drug proceeds and are often registered in the names of other persons to conceal the identity
of the drug trafficker who uses the vehicle.
       16.     Because this affidavit is being submitted for the purpose of establishing probable

cause to issue a complaint and arrest warrant for the ARREST SUBJECTS, and to search the

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TARGET SUBJECTS, the SUBJECT PREMISES, and the TARGET VEHICLE, I have not

included every detail of every aspect of the investigation. Rather, I have set forth only those facts

that I believe are necessary to establish probable cause. I have not, however, excluded any

information known to me that would defeat a determination of probable cause. The information

contained in this affidavit is based upon my personal knowledge, my review of documents and

intercepted conversations, as well as conversations with other law enforcement officers and other

individuals. All conversations and statements described in this affidavit are related in substance

and in part unless otherwise indicated. Summaries and descriptions, including quotations, of

recorded conversations are based upon my review of the audio recordings. Because this

investigation relied upon the interception of wire and electronic communication over cellular

telephones, I have included my interpretation of those communications throughout this affidavit,

and in some instances have placed in parentheses my “translation” of the words or terminology

used, or placed in brackets additional words necessary to clarify and/or complete the conversation.

These interpretations, as well as my opinions contained herein, are based upon my training and

experience, as well as my knowledge gained during this investigation of the operation of this

particular money laundering and drug trafficking organization.

       17.     The below communications are being intercepted in several languages to include

English, Taishan, Cantonese and Mandarin. Investigators are utilizing certified and vetted DEA

third-party translators who are embedded within the wire room and listen to intercepted calls in

real time, then transcribe those calls on a rolling basis. References to any calls made in a foreign

dialect in this affidavit have been translated by this team of translators, who are qualified and

trained to translate Taishan, Cantonese and Mandarin, and other regional dialects, into English.




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III.   PROBABLE CAUSE

       A.      BACKGROUND

       18.     In February 2023, Detectives with the Baltimore Police Department (BPD)

contacted the DEA and advised they were investigating the non-fatal shooting of an individual

identified as Michael MICKLOS Jr. Detectives explained that MICKLOS had recently been

involved in what they believed was a drug deal gone bad where MICKLOS was shot at but not

injured. During that investigation, detectives recovered over five pounds of marijuana and over

$100,000 in bulk U.S. currency from MICKLOS’ rental vehicle.

       19.     Approximately a week later, in a separate incident, BPD arrived at the 3800 block

of Wabash Avenue in Baltimore, Maryland in response to a report of a shooting. MICKLOS, who

was located at the scene, had been shot multiple times to his pelvic region. Due to the severity of

his injuries, he was transported to Maryland Shock Trauma for immediate medical attention.

Investigating officers discovered several shell casings on a roadway and a nearby apartment

complex parking lot. Investigating officers also located a vehicle with significant amounts of

blood in the driver and passenger areas, as well as other vehicles and property damaged by fired

bullets. A canvass of the area resulted in investigators recovering multiple pounds of marijuana

that MICKLOS attempted to discard prior to police arrival. MICKLOS refused to cooperate or

provide additional information to detectives during their investigation.

       20.     In December 2023, in follow up to this initial investigation, I utilized an undercover

Instagram account to monitor Instagram accounts of suspected drug dealers and money launderers,

including MICKLOS.         I identified an Instagram account—labelled “1Buckets”—that was

viewable to the public. This account contained several photographs of MICKLOS, which led me

to believe that the “1Buckets” account was used by MICKLOS. I have also corroborated through



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QIN often orchestrates shipments of marijuana to New York and helps direct the transfer of drug

trafficking proceeds in the form of bulk U.S. currency from the XU MLO/DTO back to QIN and

his associates. QIN is also a known associate of HUYNH, who, as noted above, has been

delivering drug trafficking proceeds via FedEx. QIN is the user of the phone assigned call number

503-899-2425.

       41.      Qihai TAO: TAO has been identified as a Seattle-based marijuana supplier for the

XU MLO/DTO and other DTOs across the United States. TAO and his associate, HUANG, work

together to obtain bulk quantities of marijuana from different sources and then ship the marijuana

in large pallets or crates to destination cities, including Baltimore. TAO also orchestrates the

transportation of drug trafficking proceeds to Seattle, often by using “mules” transporting the

proceeds in their checked airline luggage. TAO is the user of TARGET TELEPHONE 11.

       42.      Peng HUANG: HUANG, a/k/a “Rio,” is a member of the TAO DTO, based out of

Seattle, Washington. HUANG is responsible for helping TAO obtain bulk quantities of marijuana,

which are then shipped to cities across the United States. HUANG usually flies to the destination

cities and oversees the transfer of the marijuana to the TAO DTO’s customer(s) in that area.

HUANG also obtains drug trafficking proceeds from the DTO’s customers and transports the

proceeds back to Seattle in his checked airline luggage.

       43.      Isaac HUYNH: HUYNH, a/k/a “Brother Hua,” has been identified as a member of

the XU MLO/DTO. HUYNH is responsible for obtaining bulk amounts of drug trafficking

proceeds and shipping them, via FedEx, to XU’s suppliers. Investigators have seized numerous

packages shipped by HUYNH during the course of this investigation, and those packages

collectively contained over $650,000 in U.S. currency. HUYNH is the user of the phone assigned

call number 415-889-9921.



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TILMON and transporting them back to New York in a manner to conceal the nature, source,

location, ownership, or control of those proceeds.

       178.    For example, on March 28, 2024, at approximately 2:44 p.m., TILMON, using

TARGET TELEPHONE 2, called 443-969-1198, believed to be used by Dacia Carter

(“CARTER”). Below is the pertinent portion of the call that started at 2:46 p.m. TILMON asked,

“Did you get a chance to count them twenties? He gonna be there at seven. Imma leave here at

five.” CARTER stated, “Yeah I already did all that.” TILMON responded, “You counted all the

twenties?” CARTER advised, “Yeah I counted the twenties, the tens and the fives. Just the fifties

and   hundreds    are   still   left.”   TILMON      asked,   “You   already   undid    the   other

bag?” CARTER answered, “Yeah. That’s done.” TILMON replied, “Alright. I appreciate

that.” CARTER answered, “You’re welcome babe. You heard me though, I said. You heard

when I said it was only the um hundreds and fifties left right?” TILMON responded, “Yeah. You

said you didn’t do the hundreds and fifties.” CARTER stated, “Yeah.” TILMON stated, “That’s

fine.” CARTER responded, “Cause I gotta, I gotta leave out right. I gotta leave out in a little bit

and handle some business so I’m in the shower.” TILMON responded, “I mean that’s fine. I

didn’t mean to hold you up.” CARTER said, “Oh no you didn’t hold me up babe. I just you know,

you know (U/I).”        TILMON responded, “Yeah I didn’t mean to hold you up.                  My

fault.” CARTER advised, “I have to go meet somebody real fast.” TILMON asked,

“Huh.” CARTER responded, “I said I got to meet somebody real fast but you, you ain’t holding

me up so.” TILMON responded, “Oh alright alright.” CARTER stated, “I just gotta leave out real

fast. If I get back in time before you I’ll still do it but it depends.” TILMON responded, “No you,

I, I don’t know. I’ll probably be back (U/I) like five six cause I got to meet him at seven out

there.” CARTER responded, “Okay. Well yeah baby that sounds (U/I). The twenties is up against



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the wall, its tens and stuff, the hundreds and fifties and stuff still on the, in the middle of the just

sittin there.” TILMON asked, “Did you already group them in tens or no?” CARTER responded,

“Huh?” TILMON asked, “Did you group them in tens or nah? I can do that if you didn’t. Don’t

worry about that.” CARTER asked, “You sure?”                TILMON stated, “I just needed them

counted.” CARTER stated, “I can do it before I leave out the door.” TILMON responded, “Nah

nah nah nah nah nah. I just needed um counted. That’s all.” CARTER acknowledged, “Okay.

Okay.”      TILMON responded, “Nah, That’s it. I can do the the group’em and

shit.” CARTER stated, “Okay. Well it’s done already.” TILMON acknowledged, “I appreciate

it.” The pertinent part of the call ends and switches to general conversation at 2:49 p.m.

         179.   On March 28, 2024, at approximately 4:03 p.m., TILMON, using TARGET

TELEPHONE 2, received a call from 443-589-4897, used by Jamir Richburg (“RICHBURG”).

During the call, TILMON stated, “Veen like nah bro just close early at five o’clock and meet me

out Aberdeen so I can get the money so I got to leave here early in an hour anyway so it’s like.”

RICHBURG stated, “Wait. Veen took the money up?” TILMON responded, “Yeah cause he

don’t. Frankie don’t want wanna use uh uh uh Co like that no more.” RICHBURG stated,

“Because what happened with (U/I).” TILMON responded, “No he just don’t want to use him like

that no more cause he saying that Co do business with other people that Frankie don’t fuck wit. I

guess.” RICHBURG stated, “But Co consistent as fuck.” TILMON replied, “Yeah so he asked

me could Bill uh do what he was doin and drive up to New York and shit like that.” RICHBURG

stated, “Fuck ass no.” TILMON replied, “I’m like that’s not the best idea. Feel me.” RICHBURG

stated, “That no (U/I) is not capable of shit like that. Love him to death but no.” TILMON

continued, “Yeah, I just was tellin him like that’s not the best idea like.” RICHBURG responded,

“Jesus fuckin Christ.” TILMON continued, “No that’s not the best idea and then I brought it up



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to B cause B keep, he keep talkin to me about how he that him.” RICHBURG interrupted, “Wanna

get paid more.” TILMON acknowledged, “Yeah. Him and Smoke need more money. They

should be (U/I).” RICHBURG stated, “So he want to get paid more. (U/I) what he need to be

doing coming to work on time. Coming to work at all.”

       180.    On March 28, 2024, at approximately 5:09 p.m., TILMON, using TARGET

TELEPHONE 2, received a call from 443-589-4897, sued by RICHBURG. During the call,

TILMON stated, “I gotta leave here meet Veen by seven o’clock.” RICHBURG asked, “You got

the money with you or you got to go back to get it?” TILMON replied, “Nah it’s at the crib.”

RICHBURG stated, “Oh my goodness.” TILMON responded, “I counted it I just didn’t like

separate it.” RICHBURG interrupted, “Bring it.” TILMON responded, “No I didn’t separate it. I

still gotta put the tens with the tens type of shit but.” RICHBURG answered, “Oh you just timed

it all out when you were getting it.” TILMON responded, “Um hm.” RICHBURG asked, “Okay.

Wait so if Co’s not bringing the stuff who is?” TILMON replied, “I don’t know.” RICHBURG

acknowledged, “Okay.”

       181.    Based on investigators’ knowledge and experience, investigators believed

TILMON was preparing bulk drug proceeds in Baltimore with anticipation that MORGAN (a/k/a

“Veen”) would be picking them up to transport them to New York.

       182.    At approximately 6:15 p.m. investigators established physical surveillance of

TILMON's apartment located at 1005 Warwick Dr. Aberdeen, Maryland.

       183.    At approximately 6:33 p.m. investigators observed TILMON park his blue Jeep

Wrangler in front of the location and remove an empty grey Rubbermaid tote from the passenger-

side rear seat. TILMON also removed a black and red “DTLR” bag. TILMON took both items

inside his apartment at that time.



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control of the drug proceeds. These confederates included: ZHONG; LIU; QIN; TAO; HUANG;

and HUYNH.

       187.    For example, on April 14, 2024, at approximately 6:56 p.m., XU used TARGET

TELEPHONE 6 to call TARGET TELEPHONE 11, used by TAO. During the call, XU asked,

“If you receive the paper, how do you bring it back?” TAO replied, “Where do you want me to

deliver?” XU answered, “Seattle.” TAO replied, “Paper… Paper... bring to Seattle. Ugh, this

time may not work, can we do next time? Next time should no have problem.” XU interrupted,

“Hum.” TAO continued, “For the next time, I will ask my little brother to run, then when he come

back, he will directly bring to Seattle. For the paper, I cannot insure it, then I may give some

transportation fee to my little brother, check on his spending. What do you think?” XU asked

about a “transportation fee,” and TAO discussed providing a fee to an individual he referred to as

his “little brother.” Due to bad signal, the call was terminated before TAO specified a fee.

       188.    On April 14, 2024, at approximately 6:58 p.m., XU using TARGET

TELEPHONE 6 again called TARGET TELEPHONE 11, used by TAO.                             During this

conversation, XU asked, “If they could receive transportation this time?” TAO replied, “Receiving

transportation has no problem. If needs to bring paper, it has to be next time, because this time, I

already helped someone else to bring, after helping other people, I got a proof of fund, if it added

up from you, it is definitely not enough.” XU replied, “Oh, okay, sure, next time… next time also

need proof of fund.” TAO asked, “Two-hundred thousand?” XU replied, “Yes.” TAO asked,

“Or something else?” XU replied, “It should be almost two-hundred thousand.” TAO said, “Okay,

okay, no problem, no problem. Over here, I already told my boss, I will use the money from selling

car to do proof of fund. It will be safer when flighting.” XU replied, “Okay, yes, no problem.”

TAO said, “If you want me to bring, you need to tell me in advance, because now I have Atlanta



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         198.   On June 7, 2024, at approximately 11:29 p.m., XU called ZHONG. During the

call, XU directed ZHONG to bring a “box of paper” over to “West 10th Street.”

         199.   At approximately 11:58 p.m., ZHONG arrived at West 10th Steet in New York,

New York, in his white Mercedes Benz bearing New York registration KUJ-9652. ZHONG

removed a box from the trunk and walked to West 10th Street. Seconds later, ZHONG left, no

longer holding the box. ZHONG can be seen getting into the passenger side of the vehicle as he

departs in the below photograph:




         200.   Based on the above-described call and surveillance, I believe ZHONG, at XU’s

direction, transported drug trafficking proceeds (“paper”) in the box ZHONG removed from his

trunk.

         201.   On June 18, 2024, at approximately 11:35 p.m., XU using TARGET

TELEPHONE 6 called TARGET TELEPHONE 7, used by ZHONG. During the call, XU

directed ZHONG to take money to “West 10th Street.”




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Clackamas, Oregon had recently been shipped by HUYNH, who provided the WEST 10th ST.

PREMISES as his return address.

       210.    On June 30, 2024, at approximately 11:36 p.m., XU using TARGET

TELEPHONE 6 called (415) 889-9921, used by HUYNH. During the call, XU told HUYN he

was “at the door.”

       211.    Agents reviewed surveillance camera footage from this time, which showed XU

arriving at the WEST 10th ST. PREMISES in his Honda sedan and stopping curbside. HUYNH

then exited the WEST 10th ST. PREMISES and retrieved a weighed-down bag from the Honda’s

trunk. HUYNH then entered the WEST 10th ST. PREMISES carrying the bag.

       212.    On July 1, 2024, agents learned via administrative subpoena that HUYNH shipped

two new FedEx parcels from the FedEx store located at 526 86th Street, Brooklyn, New York,

each weighing 15 pounds. The packages were once again addressed to “Kwai Ling Kwok” the

same FedEx Store address in Oregon. The packages were shipped by HUYNH, who again

provided the WEST 10th ST. PREMISES as his return address.

       213.    The six above-described packages shipped on June 27, June 28, and July 1, 2024,

were subsequently held by law enforcement pending a search and seizure warrant, on the belief

that the packages were likely to contain drug trafficking proceeds.

       214.    On July 1, 2024, at approximately 10:11 p.m., agents intercepted a call between

TARGET TELEPHONE 6 and TARGET TELEPHONE 11, used by TAO. During the call,

XU said, “Motherfucker! The Seattle paper route I sent money with got busted today. Holy Shit!

Possibly because of July 4th. Therefore, do not ship anything out.” XU later said, “He has been

operating without any issues for so many years. Today got busted.” TAO asked, “Wow… Was it

a lot, the loss?” XU replied, “Seventy units.”



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XU stated, “He will be fine by having a drink.” Moments later, an unknown third party (UM2)

got on QIN’s line and spoke to XU. UM2 said, “Can, what is up?” XU replied, “What’s up? Is

everything okay?” UM2 stated, “I am telling you. I am okay. I am afraid of that you guys

misunderstand, so I notified President Qin right away on that day, to let him know the person is

fine.” XU asked, “Hey, have you received the document on the following day?” UM2 informed,

“Not able to receive it, because Brother Hua/Hue’s name is on the blacklist. I failed on that day

was because I was in rush. I shouldn’t have mailed the last two bags.” XU replied, “Uh.” UM2

continued, “Those are 280,000. Motherfucker.” XU and UM2 continued discussing the issue with

UM2’s shipment, noting that security appeared to be heightened due to Independence Day. Later

in the call, XU said, “I think you had better to use, not to use FedEx company, you find a way to

dispatch by using pallet, it will be the safest way, but…” UM2 asked, “To transport by a pallet”

XU replied “Yes, the pallet is like a…” UM2 interrupted, “Like those private jet.” XU stated,

“To transport by pallet, like those one board after another board, to transfer via airplane, then to

be carried by in a truck and ship it over directly, but it will be longer period of time. However,

you will be safe. I mean, just like us, for transporting the cigarettes out of country, we have used

the office screen/room divider. We have stacked one cigarette after another into inside of the

screen/room divider. The cost is higher, I have been doing for a long period of time, and I have

never had any problem.” After further discussion of future shipments, XU said, “It is kind of…

doing paper… I previously have three routes for Seattle, and all of the three routes were fucking

busted.”

       218.    Based on my knowledge and experience, as well as the prior calls and package

seizure, I believe “Brother B” is a close associate of—and source of marijuana supply for—XU

and QIN. I believe the drug trafficking proceeds seized from the FedEx packages were destined



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from evidence gathered during this investigation that the XU MLO/DTO often refers to marijuana

as “stuff.”

IV.     BIOMETRIC UNLOCKING

        234.   In my training and experience, and participation in this investigation, it is likely

that electronic devices with biometric unlocking features, such as fingerprint unlocking or facial

recognition, will be found within the TARGET PREMISES or the TARGET VEHICLE, or on

the TARGET SUBJECTS. Based upon my training and experience, I know that these devices

support biometric unlocking features.

        235.   I know from my training and experience, as well as from information found in

publicly available materials, that some models of devices, such as some Apple iPhones and iPads,

and the Samsung Galaxy, offer their users the ability to unlock the device via the use of a

fingerprint or thumbprint (collectively, “fingerprint”) in lieu of an alphanumeric password or

pattern password. In addition, newer versions of the Apple iPhone and related Apple products

contain a “Face ID” feature that allows the phone to be unlocked by scanning a user’s face. Some

encrypted messaging applications also offer their users the ability to unlock the application using

a fingerprint, and the WhatsApp end-to-end encrypted messaging application allows users to lock

their messages using biometric authentication tools.

        236.   If a user enables fingerprint unlocking, he or she can register a fingerprint, and

frequently more than one, that can be used to unlock that device or application. The user can then

use any of the registered fingerprints to unlock the device/application by pressing the relevant

finger(s) to the device’s fingerprint sensor, which may, for example, be integrated into the home

button, integrated into the screen, or installed on the back of the device. In my training and

experience, smartphone users commonly enable fingerprint unlocking when it is available because



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it is considered to be a more convenient way to unlock the device/application than by entering an

alphanumeric or pattern password.

       237.    In some circumstances, a fingerprint cannot be used to unlock a device even if

fingerprint unlocking is available and enabled, and a passcode or password must be used instead.

These circumstances might, or might not, include: (1) when more than 48 hours has passed since

the last time the device was unlocked, (2) when the device has not been unlocked for 8 hours and

the passcode or password has not been entered in the last 6 days, (3) when the device has just been

restarted or powered on, (4) when attempts to unlock via fingerprint have failed a specified number

of times, and (5) when the device has received a remote lock command. Thus, in the event law

enforcement encounters a locked device, the opportunity to unlock the device via fingerprint may

exist only for a short time.

       238.    The passcode or password that would unlock a given device recovered during

execution of the requested warrant likely will not be known to law enforcement. Thus, in

attempting to unlock any such devices for the purpose of executing the searches authorized by the

requested warrants, it will likely be necessary to inform the TARGET SUBJECTS that the

warrant requires them to press a finger or thumb to the Touch/ID reader of the devices capable of

biometric unlocking, or to hold the device(s) to their faces to activate any facial recognition

biometric unlocking. This is similarly true for any applications that the user has chosen to secure

with a biometric lock. The government may not otherwise be able to access the data contained on

those devices, or in those applications, for the purpose of executing the search authorized by this

warrant.

       239.    Due to the foregoing, because I have probable cause to believe that, as specified

above, that any cellphone used by the TARGET SUBJECTS has biometric features engaged, I



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seek permission for law enforcement personnel to: (1) inform TARGET SUBJECTS that they

are required to place a finger or thumb to the fingerprint scanner of the specified electronic devices;

and/or (2) hold the specified electronic devices in front of the faces of TARGET SUBJECTS for

the purpose of attempting to unlock the specified devices in order to search the contents as

authorized by this warrant.

       240.    The government will use all reasonable efforts to protect the privacy interests of

third parties, including the TARGET SUBJECTS family members/co-occupants, in conducting

the search authorized by this warrant. The government agents understand that this search relates

to devices and other evidence used by TARGET SUBJECTS to further the criminal scheme. To

identify devices that are used by the TARGET SUBJECTS, law enforcement will attempt to ask

TARGET SUBJECTS to identify which device(s) are theirs or used by them (and which belong

to others), and/or to ask other residents of the house which devices are owned or used by TARGET

SUBJECTS.

V.     CONCLUSION

       241.    Based on the foregoing, I submit that there is probable cause to believe that within

the SUBJECT PREMISES, TARGET VEHICLE and on the persons of the TARGET

SUBJECTS are fruits, evidence and instrumentalities of the above-described SUBJECT

OFFENSES.

       242.    Based on the foregoing, I further submit that there is probable cause to determine

that the ARREST SUBJECTS have committed the SUBJECT OFFENSES.

       243.    WHEREFORE, in consideration of the facts presented, I respectfully request that

this Court issue search warrants for the SUBJECT PREMISES, TARGET VEHICLE, and

TARGET SUBJECTS, authorize the search and the seizure of the items described in Attachment



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                                        ATTACHMENT B
                                         Items to be Seized

        The items to be seized are the evidence, fruits, and instrumentalities of violations of 18
U.S.C. 1956(h) (Conspiracy to Commit Money Laundering) and 21 U.S.C. 846 (Conspiracy to
Distribute Controlled Substances), for the period from January 1, 2023 to the present, including
the following:

       1.      Controlled substances;

        2.      Paraphernalia used in the manufacture, preparation, packaging, or weighing of
illegal narcotics in preparation for distribution, to include, scales, plastic bags, gelatin capsules,
vials, cutting agents (such as Mannitol and Quinine), and kilogram wrappers;

       3.      Currency or currency equivalents;

        4.      Records of narcotics or money laundering transactions including, but not limited
to, books, ledgers, receipts, notes, pay and owe sheets, and other papers relating to the manufacture,
transportation, possession, and distribution of controlled substances or the receipt and disposition
of proceeds derived from the sale of illegal narcotics;

        5.      Financial records and other records or documents reflecting money laundering,
narcotics trafficking activity, or the disposition of narcotics proceeds, including, but not limited
to, currency; financial instruments; stocks; bonds; jewelry; precious metals; bank checks; cashier’s
checks and receipts for such checks; Western Union receipts; money orders; money order receipts;
credit cards; credit card records; pre-paid credit cards; green dot cards and documents relating
thereto; vehicle registrations; real estate records; income tax returns and any documentation
relating to the payment of any income tax; mail and contract mail carrier records; documentation
and receipts relating to any safe deposit boxes and keys to safe deposit boxes; documentation and
receipts relating to any storage facilities and keys to those storage facilities; devices capable of
counting large sums of currency; other items of value or proceeds derived from the sale of illegal
narcotics; and any other documents or evidence of financial transactions involving the receipt and
disposition of the proceeds of illegal narcotics sales;

       6.       Records that identify other co-conspirators and gang members, including, but not
limited to: address books; telephone books; rolodexes; telephone bills and records;
telephones/cellphones and the numbers and other data stored within those telephones; pagers and
personal digital assistants, and the numbers stored inside those devices; devices capable of
recording incoming telephone numbers, and the numbers stored within those devices; records of
telephone calls, whether recorded electronically or in writing; notes reflecting telephone and pager
numbers, or papers which reflect names, addresses, and telephone numbers of suspected co-
conspirators; photographs (to include still photos, negatives, movies, slides, video tapes, and
undeveloped film); and audiotape recordings of conversations, including those made over
telephone answering machines;



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       7.       Documents or other records relating to state court proceedings involving other co-
conspirators, including, but not limited to, charging documents and bail records;

       8.      Identification documents;

       9.      Records of travel including, but not limited to, tickets, transportation schedules,
passports, automobile rental records, notes and receipts related to travel, and motel/hotel receipts;

         10.     Indicia of occupancy, residency, rental, control, and/or ownership of the premises,
including keys, photographs, deeds, mortgages, lease agreements, rental receipts, canceled checks,
utility, cable, and telephone bills, titles, registration documents, and other documents;

        11.     Safes, combination or key-lock strong boxes or other secure storage containers,
suitcases, file cabinets and other types of containers, whether locked or unlocked; hidden
compartments that may contain any of the foregoing; and the contents thereof; and

       12.     Cellular telephones, tablets, pagers, or other portable electronic communications
devices, and any memory cards for portable communications devices and any related records.




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                 EXHIBIT B-1
            (XU ARREST WARRANT)
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                      EXHIBIT B-
                    (=+21* ARREST
                      WARRANT)
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                         EXHIBIT B-
                         (/,8 ARREST
                          WARRANT)
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                      EXHIBIT B-
                    (+8<1+ ARREST
                      WARRANT)
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                         EXHIBIT B-
                        (4,1 ARREST
                         WARRANT)
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